                                                                  Case 3:20-cv-04068-RS Document 18 Filed 10/20/20 Page 1 of 4

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                                                                                              UNITED STATES DISTRICT COURT
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                                                                                           NORTHERN DISTRICT OF CALIFORNIA
                       50 California Street, 28th Floor




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                                                          15    BARRY N. KAY & BRYAN J. DODGE,                  )   Case No.: 3:20-cv-04068-RS
                                                                JR., individually and on behalf of all others   )
                                                          16    similarly situated,                             )   JOINT STIPULATION REQUESTING
                                                                                                                )   EXTENSION OF INITIAL CASE
                                                          17           Plaintiffs,                              )   MANAGEMENT DEADLINES;
                                                                                                                )   ORDER AS MODIFIED BY THE
                                                          18                   vs.                              )   COURT
                                                                                                                )
                                                          19    COPPER CANE, LLC d/b/a COPPER                   )   [Fed. R. Civ. P. 6(b)(1)(A)]
                                                                CANE WINES & PROVISIONS, a                      )
                                                          20    California corporation,                         )   Judge: The Honorable Richard Seeborg
                                                                                                                )   Action Filed: June 18, 2020
                                                          21           Defendant.
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                                                                  JOINT STIPULATION REQUESTING EXTENSION OF INITIAL CASE MANAGEMENT
                                                                                      DEADLINES; [PROPOSED ORDER]
                                                                  Case 3:20-cv-04068-RS Document 18 Filed 10/20/20 Page 2 of 4
                                                          1          Pursuant to Local Rule 6-1(b), the parties to this action, by and through their respective

                                                          2    Counsel, stipulate and jointly request that this Court extend certain pre-trial deadlines by at least 60
                                                          3    days, or as soon thereafter as is convenient to the Court.

                                                          4            On October 8, 2020, Plaintiffs filed their First Amended Complaint (“FAC”), and

                                                          5    Defendant’s response is due October 22, 2020. ECF No. 15. Defendant will respond to the
                                                          6    complaint on its due date with a motion to dismiss (“MTD”). The parties request additional time to

                                                          7    conduct and prepare their submissions to the initial case management deadlines currently set in this

                                                          8    matter in light of the forthcoming MTD, and request an extension of 60 days.
                                                          9            One previous extension of time has been jointly sought and granted in this matter regarding

                                                          10   deadlines related to the original complaint. The parties previously requested an extension of all pre-
                                                          11   trial deadlines, including Defendant’s deadline to respond to the original complaint, which the

                                                          12   Court granted on August 20, 2020. ECF No. 14. No previous extensions have been sought based

                                                          13   on the FAC. The only effect of this extension will be to move the Rule 16 conference and its

                                                          14   related deadlines. The parties anticipate no other effects.
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                                                          16        Event                                      Current Deadline        New Deadline
                                                          17        Response to FAC                            October 22, 2020       Does Not Change
                                                          18        ADR Certification                          October 16, 2020       December 15, 2020
                                                          19        Case Management Statement                  November 5, 2020       January 14, 2021
                                                          20        Initial Case Management Conference         November 12, 2020      January 21, 2021
                                                          21      IT IS SO STIPULATED.
                                                          22      //
                                                          23      //
                                                          24      //
                                                          25      //
                                                          26      //
                                                          27      //
                                                          28      //




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                                                                  JOINT STIPULATION REQUESTING EXTENSION OF INITIAL CASE MANAGEMENT
                                                                                      DEADLINES; [PROPOSED ORDER]
                                                                  Case 3:20-cv-04068-RS Document 18 Filed 10/20/20 Page 3 of 4


                                                          1    Dated: October 20, 2020                        HOLLAND & KNIGHT LLP
                                                          2
                                                                                                              By:
                                                          3                                                         Sarah A. Marsey
                                                                                                                    Attorneys for Defendant
                                                          4
                                                          5    Dated: October 20, 2020                        CARLSON LYNCH LLP
                                                          6
                                                                                                              By: s/Edwin J. Kilpela
                                                          7                                                      Edwin J. Kilpela
                                                                                                                 James P. McGraw
                                                          8                                                      Todd D. Carpenter
                                                                                                                 Attorneys for Plaintiffs
                                                          9

                                                          10                                      SIGNATURE ATTESTATION
                                                          11          Pursuant to Northern District of California, Civil Local Rule 5-1(i)(3), the undersigned
                                                          12   hereby attests that concurrence in the filing of the present Joint Stipulation has been obtained from
                                                          13   each of the other signatories. The undersigned shall maintain records to support this concurrence for
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                                                               subsequent production for the Court, if so ordered, or for inspection upon request by a party, until
                                                          15   one year after the final resolution of the action (including appeal, if any).
                                                          16                                                  Respectfully submitted,
                                                          17   DATED: October 20, 2020                        HOLLAND & KNIGHT LLP
                                                          18
                                                          19
                                                                                                              Sarah A. Marsey (SBN 297911)
                                                          20
                                                                                                              Attorney for Defendant
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                                                                  JOINT STIPULATION REQUESTING EXTENSION OF INITIAL CASE MANAGEMENT
                                                                                      DEADLINES; [PROPOSED ORDER]
                                                                  Case 3:20-cv-04068-RS Document 18 Filed 10/20/20 Page 4 of 4


                                                          1                                                ORDER

                                                          2           The Court having reviewed the foregoing Joint Stipulation and good cause appearing

                                                          3    therefore:
                                                          4           IT IS HEREBY ORDERED that the ADR Certification deadline is continued to December
                                                                      15, 2020; the Parties’ Initial Case Management Statement is due January 14, 2021; and the
                                                                      Initial Case Management Conference is continued to January 21, 2021. All parties shall
                                                                      appear telephonically and must contact Court Conference at (866) 582-6878 at least one
                                                                      week prior to the Conference to arrange their participation.
                                                          5           IT IS SO ORDERED:

                                                          6

                                                          7    Date: 10/20/2020
                                                                                                          UNITED STATES DISTRICT COURT JUDGE
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                                                                  JOINT STIPULATION REQUESTING EXTENSION OF INITIAL CASE MANAGEMENT
                                                                                      DEADLINES; [PROPOSED ORDER]
